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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


                                                     Civil File No. 16-cv-1954 (DWF/LIB)
 Julie Denny, individually and on behalf of
 H.A.B.,

                         Plaintiffs,

     v.
                                                                 [REDACTED]
 Bertha-Hewit Public Schools, Independent                 PETITION FOR APPROVAL OF
 School District No. 786,                                    MINOR SETTLEMENT

                         Defendant.




            COMES NOW the Petitioner, Julie L. Denny, and moves the Court for approval of a

settlement on behalf of H. A. B. H.A.B. is an eleven (11) year old girl born to Julie Denny on the

[redacted]. H.A.B. was diagnosed with Down’s syndrome at birth and as a result is a vulnerable,

non-verbal child. While attending the public school, H.A.B. was alleged to have sustained injuries

arising out of physical abuse and disparate discipline in the public school setting. Julie Denny

filed claims against the Bertha-Hewitt Public Schools on behalf of her H.A.B. and settled those

claims as set forth herein.

I.          SUMMARY OF RECOMMENDATIONS

GROSS SETTLEMENT                  $ [Redacted]

NET PROCEEDS                      $ [Redacted]

            The Net Proceeds will be protected through a pre-existing Special Needs Trust at Mid-

Central Federal Savings Bank.




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II.    CLAIM

       Julie L. Denny on behalf of her minor child, H.A.B. (DOB: 6/14/2006) brought claims for

alleged physical abuse and disparate discipline against the Bertha-Hewitt Public Schools. Julie

Denny has sole physical and legal custody of H.A.B. pursuant to a divorce decree. H.A.B. is a

child with Down’s syndrome and as a consequence is largely non-verbal. H.A.B. is unable to

report her own mistreatment or abuse. During the 2015/16 school year, H.A.B. was alleged to

have been repeatedly physically assaulted and disciplined by a special education paraprofessional

in the Bertha-Hewitt Public Schools. The alleged assaults were witnessed by same-age students

and reported to Bertha-Hewitt administration.

III.   INSURANCE AND ASSETS AVAILABLE TO SATISFY CLAIM

       Bertha Hewitt Public Schools, the Defendant in the underlying claims, held an insurance

policy that covered liability for the claims.

IV.    SETTLEMENT OFFER

       Defendant Bertha Hewitt offered, as a result of a day-long mandatory settlement

conference with the Magistrate Judge, Julie Denny the sum of $ [redacted] to settle all claims on

behalf of H.A.B. Julie Denny agreed. A copy of the settlement agreement is attached as Exhibit A.

V.       APPORTIONMENT

         There are no other family members or persons having claims arising out of this incident

  which the Court would have to apportion or otherwise take into account in determining the

  adequacy of the proposed settlement on behalf of the minor.




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VI.       FEES, COSTS, AND OUT-OF-POCKET

             Attorney's Fees

             Julie Denny employed and retained Margaret O’Sullivan Kane of Kane Education Law,

 to represent H.A.B. under a one-third contingent fee agreement. The attorney's fee on the

 proposed settlement totals $ [redacted]

VII.      PROCEEDS OF SETTLEMENT

          Offer                                                $[redacted]

          Less Costs:      Attorney’s Fees                     $[redacted]


                  TOTAL DEDUCTIONS:                             $[redacted]

          Net Proceeds                                          $[redacted]

VIII.     APPLICATION OF PROCEEDS

          Julie L. Denny will place the proceeds into a pre-existing Special Needs Trust located at

 Mid-Central Federal Savings Bank (Acct. No. XXXXXX3431). Because H.A.B. is a minor

 child, no guardianship has been established. Julie L. Denny has already created and files Special

 Needs Trust, with H.A.B. as the Beneficiary, consistent with Minn. Stat. § 501B.89, subd. 3 and

 42 U.S.C. § 1396p(d)(4)(A).

 IX.      DISBURSEMENT OF FUNDS

          Out of the settlement proceeds, funds should be disbursed to pay the out of pocket

 expenses, attorney's fees, and other deductions as set forth above.

          WHEREFORE, Petitioner requests that the Court enter an order as follows:

        1.        Approving the Minor Settlement Agreement;
        2.        Approving the payment of the attorney's fees; and
        3.        For other and further relief as the Court may deem just and proper.



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                                       Respectfully submitted,

                                       KANE EDUCATION LAW, LLC.


Dated: November 6, 2017                 /s/ Margaret O’Sullivan Kane
                                       Margaret O’Sullivan Kane /ID # 220243
                                       Attorney for Petitioner
                                       420 Summit Avenue
                                       Suite 306
                                       Saint Paul, Minnesota 55102
                                       651/222-8611

                                          VERIFICATION

       I verify that I have read the foregoing Petition, and that all of the facts and statements

made therein are true and correct to the best of my knowledge, as to the attached documents they

are true and correct copies, and as to those facts stated on information and belief, I also believe

them to be true and correct.


Dated: November 6, 2017                       /s/ Julie L. Denny
                                              Julie L. Denny
Subscribed and sworn to before me
this ____ day of November 2017.


_______________________________
Notary Public




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